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(Rev.3f88)
UNITED STATES DISTRICT COURT

for

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

U.S.A. vs. VALERIE L. ALBONETTI Docket No. 2 .03CR20047-01
Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Valerie L. Albonetti who Was placed on supervision by the
Honorable Samuel H. MaEa Jr. sitting in the Court at Memphis, 'IN on the w day of Jangy, 2_(1(_)£ who fixed the
period of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection
of substance use or abuse.

The defendant shall participate as directed in a program of mental health treatment approved by the probation
officer.

*In the instant offense, Probat1 on began January 9, 2004, but was revoked August 19, 2004, with a Sentence of thirty
(30) days lmprisonment and a one (1) year term of Supervised Release, which began Septernber 14, 2004, with the
following condition added to the previously imposed conditions:
The defendant shall serve six (6) months community confinement (102 days unserved).
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHEI))

PRAYING THAT THE COURT WILL OR])ER a Warrant be issued for Ms Albonetti to appear before the
Honorable Samuel H Mays, Jr. to answer charges of violation of Supervised Release.
Bond:

ORDER OF COURT l declare under penalty of perjury that the foregoing

is true and correct
Cozldsidered2 and dered this l 3“` ___day

and ordered filed and Executed on % 13 \ '3\@05

niade a part oY ignords in the above case.

United States District Judge

U.S. Probation Officer

 

Place: Memphis, Tennessee

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RESPECTFULLY PRESENTING PETITION FOR ACTIoN OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state, or local crime.

On April 7, 2005, Ms. Albonetti was arrested and charged by the Horn Lake Police (MS) for Possession of Drug
Paraphernalia- ()n April 21, 2005, she failed to appear for court in Horn Lake. On May 10, 2005, in Horn Lake City
Court she was found guilty of Possession of Drug Paraphernalia and Contempt of Court with a sentence of thirty
(3 0) days in jail with sixteen (16) days suspended and fourteen (14) days credit, a $620.00 fine, and license revoked
for six (6) months.

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Ms. Albonetti used and/or possessed a controlled substance as evidenced by positive drug screens on February l,
2005, for cocaine, April 6, 2005, for cocaine and marijuana and April 13 and 21, 2005, for cocaine

The defendant shall not leave the judicial district without the permission of the court or probation officer.

Ms. Albonetti traveled out of the Western District of Tennessee without permission as evidenced by her arrest for
Possession of Drug Paraphernalia on April 7, 2005, by the Horn Lake (MS) Police.

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned
by a law enforcement officer.

Ms. Albonetti failed to notify this officer as required within seventy-two (72) hours of being arrested on April 7,
2005.

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1. Defendant Valerie Albonetti
2. Docket Number (Year-Sequence-Defendant No.) 2:03CR20047-001
3. District./Office Western District of Tennessee (Memphis}
4. Original Sentence Date 01 09 04
month day year

Hfdg%rent than abr)ve):

5. Original District/Otiice

 

6. Originai Docket Number (Year-Sequence-Defendant No,)

 

7. List each violation and determine the applicable grade {_s__e§ §7B1.1}:

 

 

 

 

 

Violation{s} Grade
New criminal conduct: Possession of Drug Parphernalia C
Possessionlusage of a controlled substance: cocaine & marijuana C
Leaving district without permission C
Failure to report arrest within 72 hours C
8. Most Serious Grade ofVioIation (§@ §7Bl.1(b) C
9. Criminal l-listory Category (B §731.4(21))74 l

10_ Range of imprisonment (§_e_§ §731.4(3)) 3-9 months* ll

*Being originally convicted of a Class D felony, the statutory maximum term of imprisonment is 24 months; 18 U.S.C. §3583(e)(3).

 

 

l l. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X} (a)lf the minimum term of imprisonment determined under §?B1.4(Tenn of Imprisonment) is at least one month
but not more than six months, §7Bl .3(c) (1) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7B1.4(Term of Imprisonment) is more than six
months but not more than ten months, §7B] .3(c) (2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7B1.4(Term of Imprisonment) is more than ten

months, no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite ]400, Washington, D.C., 20004, Attention: Monitoring Unit

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Defendant Valerie Albonetti Docket#2:03CR20047~01

 

12. Unsatisfied Conditions of Original Sentence

List any restitution, line, community eoniinement, home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {Yg §7B1.3(d)}:

 

 

 

 

 

 

Restitution ($) N/A Community Confinernent 102 days
Fine ($) N/A Home Detention N/A
Other N/A Intennittent Continement NfA

13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the tenn of supervised release according to the provisions of §§SDI .1-1 .3 {§ge_

§§7Bl .3(g)(l)}.

Term: N/A to N/A years
if supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {s_e_e_ 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.
Period of supervised release to be served following release nom imprisonment

14. Depa rture

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

15. Ol'ficial Detention Adjustment {§e_§ §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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Case 2 03 cr 20047 S 0 u UNI%EDSTATES VE ENT

Memorandum

DATE= May 13, 2005
REPLY 'ro

ATTN 0F= Freddie McMaster 11, UsPo§“M
sUBJnCT= ALBoNETTI, valerie L.

Docket No.: 2:03CR20047-001
CONF]DENTIAL MEMORANDUM

TO: Honorable Samuel H. Mays, Jr.
United States District Judge

Ms. Albonetti has failed to comply with the conditions set forth by the Court following a previous
revocation hearing on Angust 19, 2004. A subsequent petition to revoke supervision was filed with
the Court on January 14, 2005. On February 2, 2005, she was released on recognizance following
her initial appearance She is currently in federal custody on a bond violation warrant issued by the
Court on April 26, 2005.

Even though Ms. Albonetti was aware of being in violation status, she persisted in using controlled
substances (the basis for her first violation hearing), left the area without permission and engaged
in new criminal conduct, and did not report being arrested. lt should be noted Ms. Albonetti has not
satisfied 102 days of community confinement which originated from the previous revocation hearing

The instant offense for which Ms. Albonetti is under Federal Supervision (Class D felony of Theft
of Mail by Postal Employee) allows for a statutory maximum amount of imprisonment upon
revocation of Supervised Release of twenty-four (24) months (18 U.S.C. §3583(e)(3)). With a
Criminal History Category of I and Grade C violations, Chapter Seven of the Sentencing Guidelines
suggests a range of three (3) to nine (9) months imprisonment Under §7B1.3(c)(1) of the
Guidelines, sentencing options exist for the Court in this matter. These options consist of either: (1)
a term of imprisonment or (2) imprisonment and a term of Supervised Release with a special
condition which substitutes a halfway house or home detention period for any portion of the
minimum term. This officer respectliilly requests a sentence of 102 days incarceration with no term
of Supervised Release to follow.

FLM: gp

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BONI) RECOMMENDATION

Ms. Albonetti has had a previous term of Probation revoked due to drug usage/possession and has a documented
history of poly-substance abuse. She was under bond conditions and facing a second revocation when she engaged
in drug-related criminal conduct. On April 21, 2005, she failed to appear in Horn Lake (MS) City Court for a
scheduled court hearing on this conduct and a warrant was issued. Given these factors, it is requested Ms. Albonetti
be held without bond, pending disposition of the revocation matter, as it appears she poses both a flight risk and a
danger to the community and that no condition or combination of conditions will ensure her compliance with bond
or supervised release requirements, namely to refrain from the usage/possession of a controlled substance

DISTRIC COURT - unimer D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 83 in
case 2:03-CR-20047 was distributed by fax, mail, or direct printing on
May 18, 2005 to the parties listedl

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

